                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                CRIMINAL CASE NO. 2:13-cr-14-MR-DLH-2


UNITED STATES OF AMERICA )
                            )
         vs.                )              DISMISSAL ORDER
                            )
YONG HWA CUCCIA             )
___________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss the Indictment as to Defendant Yong Hwa Cuccia without prejudice.

[Doc. 60]. The Government indicates in its motion that the Defendant has

entered a guilty plea in case number 1:15-mj-56. The Court concludes that,

pursuant to Fed.R.Crim.P. 48(a), the Government’s motion should be

allowed.

     IT IS, THEREFORE, ORDERED that the Bill of Indictment filed herein

is dismissed without prejudice as to only the Defendant Yong Hwa Cuccia.

     IT IS SO ORDERED.

                                Signed: April 27, 2015




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